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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA


v.                                    CRIMINAL ACTION NO. 2:05-00107-01


GEORGE LECCO


                        MEMORANDUM OPINION AND ORDER


            Pending is the United States’ motion in limine

to exclude testimony by an Assistant United States Attorney

(“AUSA”), filed April 15, 2010.


            The United States seeks to exclude testimony by

AUSA Philip H. Wright.       The motion is prompted by an April 13,

2010, letter from defense counsel stating their desire to

subpoena AUSA Wright as a defense witness at trial for purposes

of impeaching the testimony of potential witnesses Walter Harmon,

Charles Hatfield, and Patricia Burton.


            In substance, defendant notes that, following trial

preparation on three separate dates in August and September of

2005, AUSA Wright supplemented in writing certain memoranda

originally prepared by Sergeant A.S. Perdue.             The supplemental

memoranda related to witness interviews with Harmon, Hatfield,
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and Burton.     Defendant appears to assert that he will seek to

impeach these three witnesses if they testify at trial contrary

to any statements contained in AUSA Wright’s supplemental

memoranda.    The United States contends, however, that many

components of the witnesses’ statements identified by defendant

are found in the transcript of the first trial.              It accordingly

asserts that the witnesses can be impeached without the necessity

of calling AUSA Wright, by use of either their prior testimony or

by testimony elicited from Sergeant Perdue, who was present for

each interview that resulted in a supplemental memorandum.


            Defendant emphasizes the contingent nature of his plans

to call AUSA Wright, noting only that AUSA Wright “may be needed

as an impeachment witness should . . . [Harmon, Hatfield, and

Burton] deny certain assertions made in the presence of Mr.

Wright during the course of the investigation in this case.”

(Resp. at 1).        Defendant further states as follows:

      It is entirely possible that Harmon, Hatfield and
      Burton will admit to making the[ir earlier] statements
      in the presence of Mr. Wright during the course of the
      criminal investigation. However, should the witnesses
      deny such statements -- statements they were never
      confronted with during the previous trial -- then only
      Mr. Wright can serve as an impeachment witness for the
      defense. Only Mr. Wright reduced such information to
      writing years earlier.

(Id. at 2).     Defendant does not comment specifically on the

United States’ suggestion that Sergeant Perdue instead of AUSA


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Wright be used for impeachment purposes.              He further asserts that

“many” of the three witnesses’ prior statements are not found in

the transcript of the first trial, offering some detail in that

regard.    (Id.)


            As both parties appear to agree, it is uncertain at

this point whether the testimony of AUSA Wright or any other

source will be necessary for impeachment purposes.               The court,

accordingly, ORDERS that the United States’ motion be, and it

hereby is, denied without prejudice pending the testimony of the

identified witnesses.      At that point, defendant may disclose

whether it is in fact necessary to call AUSA Wright, along with a

specification of the testimony of the witness(es) for which

defendant then asserts that testimony by AUSA Wright will be

necessary for impeachment purposes.


            The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States

Marshal.

                                          DATED: April 19, 2010


                                          John T. Copenhaver, Jr.
                                          United States District Judge




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